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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-MJ-8332-BER


IN RE SEALED SEARCH WARRANT

________________________________/


                                    ORDER TO UNSEAL

       The United States of America, having applied to this Court for an Order unsealing the

Notice of Filing of Redacted Memorandum, and the Court finding good cause:

       IT IS HEREBY ORDERED that the Notice of Filing of Redacted Memorandum and

the accompanying attachment, along with all associated motions to seal and orders to seal,

Docket Entries 88, 92, 96, 97, 98, and 98-1, shall be unsealed.

       DONE AND ORDERED in chambers at Palm Beach County, Florida, this 26th
                                                                        ____ day

of August, 2022.




                                           ______________________________________
                                           UNITED STATES MAGISTRATE JUDGE
                                           SOUTHERN DISTRICT OF FLORIDA
